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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TRUSTEES OF THE CHICAGO PAINTERS )
AND DECORATORS PENSION FUND, )
TRUSTEES OF THE CHICAGO PAINTERS )
AND DECORATORS WELFARE FUND; )
TRUSTEES OF THE CHICAGO PAINTERS )
AND DECORATORS SAVINGS FUND; )
TRUSTEES OF THE CHICAGO PAINTERS )
AND DECORATORS APPRENTICESHIP FUND,)
TRUSTEES OF THE CHICAGO PAINTERS
AND DECORATORS SCHOLARSHIP FUND,
AND TRUSTEES OF THE CHICAGO
PAINTERS AND DECORATORS JOINT
COOPERATION TRUST FUND,

No. 19-cv-8110

Plaintiffs,
V.

ROCK-IT INTERIORS, INC., an Illinois
corporation.

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Defendant. )

COMPLAINT

Plaintiffs, TRUSTEES OF THE CHICAGO PAINTERS AND DECORATORS
PENSION FUND, TRUSTEES OF THE CHICAGO PAINTERS AND DECORATORS
WELFARE FUND, TRUSTEES OF THE CHICAGO PAINTERS AND DECORATORS
SAVINGS FUND, TRUSTEES OF THE CHICAGO PAINTERS AND DECORATORS
APPRENTICESHIP FUND, TRUSTEES OF THE CHICAGO PAINTERS AND

DECORATORS SCHOLARSHIP FUND, and TRUSTEES OF THE CHICAGO PAINTERS

AND DECORATORS JOINT COOPERATION TRUST FUND, by their attorneys, Donald D.
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Schwartz, James R. Anderson, Brian C. James, and ARNOLD AND KADJAN LLP, complain
against Defendant ROCK-IT INTERIORS, INC., an Illinois corporation, as follows:
COUNT I
Jurisdiction and Venue

1. Jurisdiction of this cause is based on Section 502 of the Employee Retirement
Security Act of 1974, 29 U.S.C. Section 1132, 1145 (“ERISA”), as amended, and 28 U.S.C.
Section 1331, Section 301 of the National Labor Relations Act, 29 U.S.C. Section 185, and
federal common law.

2. The Northern District of Illinois is the proper venue pursuant to 29 U.S.C. Section
1132(e)(2) as the Plaintiffs Funds are administered here in this judicial district.

The Parties

3. The Plaintiffs are the TRUSTEES OF THE CHICAGO PAINTERS AND
DECORATORS PENSION FUND, TRUSTEES OF THE CHICAGO PAINTERS AND
DECORATORS WELFARE FUND, TRUSTEES OF THE CHICAGO PAINTERS AND
DECORATORS DEFERRED SAVINGS FUND, TRUSTEES OF THE CHICAGO PAINTERS
AND DECORATORS APPRENTICESHIP FUND, TRUSTEES OF THE CHICAGO
PAINTERS AND DECORATORS SCHOLARSHIP FUND, and TRUSTEES OF THE
CHICAGO PAINTERS AND DECORATORS JOINT COOPERATION TRUST FUND (“the
Funds”), and have standing to sue pursuant to 29 U.S.C. Section 1132(d)(1).

4, The Funds have been established pursuant to collective bargaining agreements
previously entered into between the Painters District Council #14 and its affiliated locals (the
“Union”) and certain employer associations whose employees are or were covered by one or more

collective bargaining agreements with the Union.
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5. The Funds are maintained and administered in accordance with and pursuant to the
provisions of the National Labor Relations Act, 29 U.S.C. Section 186, ef seg., as amended,
ERISA, 29 U.S.C. Section 1001, ef seg., and also pursuant to the terms and provisions of the
collective bargaining agreements and Declarations of Trust (“Trust Agreement”) which
established the Funds.

6. Defendant ROCK-IT INTERIORS, INC. (““ROCK-IT”), an Illinois corporation, is
an employer engaged in an industry affecting commerce which entered into a collective bargaining
agreement (“Labor Agreement”) with the Union on or about August 7, 2009, whereby ROCK-IT
agreed to be bound by the provisions of the Labor Agreement and any subsequent agreements
negotiated between the Union and certain employer associations. A copy of the Labor Agreement
is attached as “Exhibit A.”

The Agreements

7. Pursuant to the provisions of the Labor Agreement, ROCK-IT is bound to the Trust
Agreements and is required to make periodic contributions to the Funds for each hour worked by
its bargaining unit employees working within the occupational and jurisdictional scope described
therein at the rate and in the manner specified by the Labor Agreement and the Trust Agreements.
In addition, ROCK-IT is required to make contributions to the Funds measured by hours worked
by subcontractors performing painters’ or tapers’ work who fail to make contributions to the
Funds.

8. Under the terms of the Labor Agreement and Trust Agreement to which it is bound,
ROCK-IT is required to submit all necessary books and records to Plaintiffs’ auditor for the
purpose of determining whether or not ROCK-IT is in compliance with its obligation to contribute

to the Funds. In addition, the Labor Agreement and the Trust Agreements require ROCK-IT to
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pay liquidated damages, interest, auditors fees, and all attorneys fees and court costs incurred by
the Funds in the collection process.
The Claim

9. Upon information and belief, Plaintiffs are advised that ROCK-IT has breached the
provisions of the Labor Agreement and Trust Agreement by failing to pay all of the reports and
contributions for July 2019 through the present. ROCK-IT has also breached by failing to pay
certain contributions on specified due dates, and liquidated damages are owed thereon.

10. Plaintiffs have been required to employ the undersigned attorneys and their law
firm to collect the monies that may be found to be due and owing from ROCK-IT.

11. ROCK-IT is obligated to pay the attorneys’ fees and court costs incurred by the
Plaintiffs pursuant to the Labor Agreement, the Trust Agreements, and 29 U.S.C. Section
1132(g)(2)(D).

12. Pursuant to 29 U.S.C. Section 1132(g)(2)(C), Plaintiffs are entitled to an amount
equal to the greater of:

(i) interest on the unpaid contributions; or
(ii) liquidated damages provided for under the Trust Agreements not in excess
of 20% of the amount that is due.

WHEREFORE, Plaintiffs pray for relief as follows:

A. — This Court order ROCK-IT to submit all necessary books and records to Plaintiff's

accountant for the purpose of determining whether or not it is in compliance with its

obligation to contribute to the Funds for an audit for the period of September 1, 2016

through the present.
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B. — That judgment be entered in favor of Plaintiffs and against Defendant in the amount
shown to be due on the above audit.

C. This Court enjoin ROCK-IT from violating the terms of the collective bargaining
agreement and Trust Agreement by failing to make timely payments to the Funds and
ROCK-IT be ordered to resume making those payments.

D. Plaintiffs be awarded their costs herein, including reasonable attorneys’ fees and
costs incurred in the prosecution of this action, together with liquidated damages in the
amount of 20%, including all unpaid liquidated damages, all as provided in the applicable
agreements and ERISA Section 502(g)(2).

E. This Court grant Plaintiffs such other and further relief as it may deem appropriate

under the circumstances.

TRUSTEES OF THE CHICAGO PAINTERS
AND DECORATORS PENSION FUND, et al.,

By: /s/ Brian C. James
One of their Attorneys

DONALD D. SCHWARTZ
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BRIAN C. JAMES

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